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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

Case No.: 2:15-cv-06382-KM-

MAH
GLADYS ECHEGOYEN, individually and on behalf of
others similarly situated,
Plam“ff’ REQUEST FoR
V. RODUCTION
AND INSPECTION
U.S. STANDARD HOLDINGS TRUST, LLC, d/b/a/
Pursuant to FRCP 26 & 34

STANDARD HOLDINGS MANAGEMENT, LLC,
STANDARD HOLDINGS REALTY GROUP, LLC,
and ANDRES GARCIA

Defendants.

 

 

Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedures (“FRCP”),
Defendant, by and through their undersigned counsel, request that you produce the documents
specified below, within (3) days of service, to J t Singh, Esq., at 1407 Broadway, Suite 3412
New York, NY 10018-5154, or at such other time and place, or in such other manner, as may

be mutually agreed upon by the parties.

INSTRUCTIONS
A. At time of inspection all documents must be presented in original form. Please
note that no copies of any type Will be accepted as compatible substitutes.
B. The documents produced in response to these requests shall be either organized
and designated to correspond to the categories in the requests or produced in a form that

accurately reflects how they are maintained by the party in the normal course of business.

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C. For any document that no longer exists or is no longer in your actual or
constructive possession, custody or control, state the present status, type of document, its
subject matter and date, what disposition was made of it, when said disposition took place, the
reason for such disposition and the identity of the person(s) who ordered or authorized such
disposition

D. If a claim of privilege is asserted, in whole or in part with respect to any
document request, or you object to the disclosure of any document requested herein, in whole
or in part, on any other ground, identify the nature of the privilege or objection, including
work product, that is being claimed, and if the privilege or objection is being asserted in
connection with a claim or defense covered by state law, indicate the state's rule being
invoked.

E. Whenever reference is made to a person, it includes any and all of such
person’s principals, employees, agents, attomeys, consultants and other representatives

F. When production of any document in your possession is requested, such
request includes documents subject to your possession, custody, or control. In the event that
you are able to provide only part of the document(s) called for in any particular Request for
Production, provide all document(s) that you are able to provide and state the reason, if any,
for the inability to provide the remainder.

G. “Document(s)” means all materials within the full scope of FRCP 34 including
but not limited to: all writings and recordings, including the originals and all non-identical
copies, whether different from the original by reason of any notation made on such copies or
otherwise (including but not without limitation to, email and attachments, text messages, IM
messages, correspondence, memoranda, notes, diaries, minutes, statistics, letters. telegrams,

minutes, contracts, reports, studies, checks, statements, tags, labels, invoices, brochures,

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periodicals, telegrams, receipts, returns, summaries, pamphlets, books, interoffice and
intraoffice communications, offers, notations of any sort of conversations, working papers,
applications, permits, file wrappers, indices, telephone calls, meetings or printouts, teletypes,
telefax, invoices, worksheets, and all drafts, alterations, modifications, changes and
amendments of any of the foregoing), graphic or aural representations of any kind (including
without limitation, photographs, charts, microfiche, microfilm, videotape, recordings, motion
pictures, plans, drawings, surveys), and electronic, mechanical, magnetic, optical or electric
records or representations of any kind (including without limitation, computer files and
programs, tapes, cassettes, discs, recordings), including metadata.

H. If any document is withheld from production under a claim of privilege or
other exemption from discovery, state the title and nature of the document, and furnish a list
signed by the attorney of record giving the following information with respect to each
document withheld:

a. The name and title of the author and/or sender and the name and title of the
recipient;

b. The date of the document’s origination;

c. The name of each person or persons (other than stenographic or clerical
assistants) participating in the preparation of the document;

d. The name and position, if any, of each person to whom the contents of the
documents have been communicated by copy, exhibition, reading, or substantial
summarization;

e. A statement of the specific basis on which privilege is claimed and whether or
not the subject matter or the contents of the document is limited to legal advice

or information provided for the purpose of securing legal advice; and

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f. The identity and position, if any, of the person or persons supplying the attorney
signing the list with the information requested in the subparagraphs above.

g. “Relate(s) to,” “related to” or “relating to” means to refer to, reflect, concern,
pertain to or in any manner be connected with the matter discussed.

h. Every Request for Production herein shall be deemed a continuing Request for
Production, and you are to supplement your answers promptly if and when you
obtain responsive documents which add to or are in any way inconsistent with
your original production.

i. These discovery requests are not intended to be duplicative All requests should
be responded to fully and to the extent not covered by other requests. If there
are documents that are responsive to more than one request, please note and
produce each such document first in response to the request that is more
specifically directed to the subject matter of the particular document.

j. Any word written in the singular herein shall be construed as plural or vice
versa when necessary to facilitate the response to any request. Pronouns shall be
construed as gender neutral when necessary to facilitate the response to any
request.

k. “And” as well as “or” shall be construed disjunctively or conjunctively as
necessary in order to bring within the scope of the request all responses which

otherwise might be construed to be outside its scope.

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10.

REQUESTS

Provide copies of all documents and information about the Plaintiff regarding their
status as Plaintiff, Plaintiffs agent or employee and copies of any and all related
employment or agency agreement(s).

lf Plaintiff was in Bankruptcy during the pending instant case, state present status and
authority to prosecute instant action and provide all relevant federal as well as state
authorization reflecting same.

Any and all documents that pertain to communications between Plaintiff and any other
party to this litigation,

Any and all agreements between Plaintiff and any other party to this litigation,

Any and all telephone log sheets, recordings, internal memoranda, notes, and other
documents pertaining to any communications in connection with any aspect of the
issue(s) in this litigation, including but not limited to communications between any of
Plaintiff’s employees or agents and Defendants.

Any and all documentary and/or tangible evidence intended to be relied upon by
Plaintiff at the time of trial.

Any and all of Plaintiffs license(s) to do business.

Any and all documents pertaining to any other litigation to which Plaintiff was a party
that involved any of the other parties to this litigation, or that involved any claims
similar to those raised in this litigation,

Any and all documents referred to or identified by you in your answers to the Bill of
Particulars served on you by Defendant.

Any and all documents relied upon or reviewed by any expert who has or will render a

report.

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PLEASE TAKE FURTHER NOTICE, except where originals are requested at time of
inspection herein, Defendant will accept any accurate copies of the documents in lieu of
Plaintiffs appearance

PLEASE TAKE FURTHER NOTICE, that if the aforesaid information is not
furnished within the specified time, either Defendant will seek preclusion of the information
at trial, or a Motion to Compel Discovery of the requested information will be made, together
with costs and disbursements of the motion.

Dated: July l6, 2018
New York, NY

  
 

 

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